             Case 3:17-cv-01362 Document 1509-8 Filed 01/12/22 Page 1 of 3 PageID #: 72803

  From:          Miller, Amanda K [/O=MCKESSON/OU=NORTH AMERICA/CN=RECIPIENTS/CN=ES3652H]
  Sent:          4/24/2013 1:00:45 PM
  To:            Graziano, David [david.graziano@mckesson.com]
  Subject:       RE: CSMP 4/23/13



  No, TCR's are done same day. They'll be able to order tonight. Melenie should know this- TCR's are commonplace.


  From: Graziano, David
  Sent: Wednesday, April 24, 2013 8:00 AM
  To: Miller, Amanda K
  Subject: Re: CSMP 4/23/13

  Good morning!
  Thanks for the immediate attention. So in theory it will update at midnight and official by tomorrow?
  Thanks
  Dave

  Sent from my iPhone

  On Apr 24, 2013, at 8:41 AM, "Miller, Amanda K" <Amanda.Miller2@McKesson.com> wrote:

  Sure I can put that it right now. Don't need any add'I info. It will be completed today .

  Than ks,
  Amanda


  From: Graziano, David
  Sent: Tuesday, April 23, 2013 7:56 PM
  To: Miller, Amanda K
  Subject: Fwd: CSMP 4/23/13

  Amanda,
  Thank you for notifying Melenie of the threshold she is approaching.
  Can you please have the threshold increased by 3000.
  This will be an increase from 9000 to 12000.
  Her store has picked up additional volume hence the need for the increased controls.
  I have to follow up with her on a few topics tomorrow.
  Can you please let me know if their is any additional information I can request from her to allow the increase to
  Go into affect. Please let me know the estimated time frame it will take, and confirmation when completed .

  Thank you for your help on this
  Dave

  Sent from my iPhone

  Begin forwarded message:

  From: Melenie Petropoulos <m petropou los@marcs.com>
  Date: April 23, 2013, 5:46:15 PM EDT
                                                                                                               17-MDL-2804
  To: "'Graziano, David"' <David.Graziano@McKesson.com>                                                    PLAINTIFFS TRIAL
  Subject: FW: CSMP 4/23/13                                                                                    EXHIBIT
                                                                                                          P-00054_00001




HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                             MCKMDL004 76776
                                                                                                              P-00054_00001
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  Please arrange to increase the threshold for oxycodone for Mares 24WA from 9000 to 12.000.




  Please advise me if you require additional information.

  Thanks,

  Melenie




  Vice President., Pharmacy
  Marc Glassman, Inc
  5841 West 130th Street
  Cleveland, Ohio 44130
  216-265-7700
  216-265-7744 (fax)
  rnpetropoulos@rnarcs.com




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  From: Miller, Amanda K [mailto:Amanda.Miller2@McKesson.com]
  Sent: Tuesday, April 23, 2013 9:55 AM
  To: Melenie Petropoulos (Melenie Petropoulos)
  Subject: CSMP 4/23/13

  Melenie-

  Let me know if you need to make any adjustments.


  BM2735756            398707   XPECT 29CR                      9143   OXYCODONE           8000   7000       87.5


  BM2927804            523991   MARC'S 26SC                     9143   OXYCODONE          10000   7500        75



  Best Regards,
  Amanda Miller
  Account Manager, RNA Support Solutions

  McKesson Corporation
  1220 Senlac
  Carrollton, TX 75006
  972.360.1368 Office




HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKMDL004 76777
                                                                                                    P-00054 _ 00002
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  214.649.1419 Cell
  amanda.miller2@mckesson.com

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